Case 1:04-cv-01322-.]DT-STA Document 9 Filed 05/31/05 Page 1 of 4

 

 

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FoR THE wEsTERN DISTRICT oF TENNESSEE 05!1
EASTERN DIVISION k _\ 7
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MARCUS DALE JoHNsoN, # 352281, ) "~,£§Dj\;,
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Plaiotifi', )
)
v. ) No. 1:04-cv-01322
) JUDGE ToDD c, :,_,
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ORDER GRANTING MO'I`ION FOR ENLARGEMENT OF TI

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THIS MATTER comes before the Court upon the motion of the defendant, State

of Tennessee, for an enlargement of time in to respond to the complaint, pursuant to Fed. R. Civ.

P. 6(b). The Court, having reviewed and considered the motion, FlNDS that good cause has been

shown for an enlargement of time in which to respond to the complaint

It is therefore ORDERED that defendant State of Tennessee is GRANTED a

thirty-one (31) day enlargement of time in which to file a response to the complaint Such

response shall be due on or before June 27, 2005.

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This document entered on the docket sheet in compliance
with nme 58 and/or 79 (a) FRCP on `

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Case 1:04-cv-01322-.]DT-STA Document 9 Filed 05/31/05 Page 2 of 4 Page|D 14

Submitted for entry by:

PAUL G. SUMMERS
Attorney General and Reporter

 

Assistant Attorney General
Ofiice of The Attorney General
Civil Rights & Claims Division
P.O. Box 20207

Nashville, TN 37202

(615) 532-2500

TIFI ER CE

I hereby certify that true and exact copies of the foregoing were served by first-
class U.S. Mail, postage pre-paid, upon

Marcus Dale Johnson, # 352281
WTSP

PO Box 1150

Henning, TN 38041

and

Michael B. Schwegler
Assistant Attomey General
Office of The Attorney General
Civil Rights & Clairns Division
P.O. Box 20207

Nashville, TN 37202

on this the _ day of , 2005.

 

Clerlc/Judge

130902/MBS '2'

Case 1:04-cv-01322-.]DT-STA Document 9 Filed 05/31/05 Page 3 of 4 Page|D 15

RTIFI RVI E

I hereby certify that true and exact copies of the foregoing were served by first~
class U.S. Mail, postage pre-paid, upon

Marcus Dale Johnson, # 352281
WTSP

PO Box 1150

Henning, TN 38041

on this the 26th day of May, 2005.

Michael B. Sch?§gle§ *:i §

Assistant Attomey General

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case l:04-CV-01322 Was distributed by faX, mail, or direct printing on
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Michael B. Schwegler

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Honorable J ames Todd
US DISTRICT COURT

